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19

20                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
21                                 SAN FRANCISCO DIVISION

22   ORACLE AMERICA, INC.                                Case No. CV 10-03561 WHA

23                     Plaintiff,                        REQUEST AND [PROPOSED]
                                                         ORDER REGARDING
24          v.                                           COURTROOM EQUIPMENT FOR
                                                         APRIL 20, 2011 CLAIM
25   GOOGLE INC.                                         CONSTRUCTION HEARING

26                     Defendant.                        Date: April 20, 2011
                                                         Time: 1:30 p.m.
27                                                       Dept.: Courtroom 9, 19th Floor
                                                         Judge: Honorable William H. Alsup
28
     REQUEST & [PROPOSED] ORDER RE COURTROOM EQUIPMENT FOR 4/20/11 CLAIM CONSTRUCTION HEARING
     CASE NO. CV 10-03561 WHA
     pa-1458088
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 1          Plaintiff Oracle America, Inc. (“Oracle”) respectfully requests permission, pursuant to
 2   General Order No. 58, for the parties to bring the following equipment into the courthouse, and to
 3   possess and use that equipment in Courtroom 9 during the Claim Construction Hearing,
 4   scheduled for Wednesday, April 20, 2011, at 1:30 p.m.
 5          The specific devices are as follows:
 6          1.      2 50” Plasma Screens
 7          2.      2 Dual Post Stands
 8          3.      1 data projector
 9          4.      1 7.5’x10’ projector screen
10          5.      1 visual presenter
11          6.      1 video switch box
12          7.      2 cart / stands
13          8.      4 laptop computers
14          9.      cables, peripherals, and power cords for the foregoing equipment
15

16          The parties are coordinating their efforts and will share the presentation equipment.
17          Oracle further requests the Court’s permission for the parties to set up their respective
18   electronic devices in the courtroom on Wednesday, April 20, 2011, at 12:00 p.m., or at such time
19   the Court may specify, to facilitate the timely and orderly conduct of the hearing.
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     REQUEST & [PROPOSED] ORDER RE COURTROOM EQUIPMENT FOR 4/20/11 CLAIM CONSTRUCTION HEARING           1
     CASE NO. CV 10-03561 WHA
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 1
     Dated: April 18, 2011                       MICHAEL A. JACOBS
 2                                               MARC DAVID PETERS
                                                 DANIEL P. MUINO
 3                                               MORRISON & FOERSTER LLP
 4
                                                 By: /s/ Roman A. Swoopes
 5                                                       Roman A. Swoopes
 6                                                      Attorneys for Plaintiff
                                                        ORACLE AMERICA, INC.
 7

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 9                                              ORDER
10          For good cause shown, the foregoing requests are GRANTED.
11   IT IS SO ORDERED.
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14   DATED: April __,
                  19 2011
15                                                 THE HONORABLE WILLIAM H. ALSUP
                                                        United States District Judge
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     REQUEST & [PROPOSED] ORDER RE COURTROOM EQUIPMENT FOR 4/20/11 CLAIM CONSTRUCTION HEARING   2
     CASE NO. CV 10-03561 WHA
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